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             IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                     :   Chapter 11
                                           :
FRANCES EMMONS ROGERS                      :
                                           :
                       Debtor.             :
                                           :   Bankruptcy No. 18-15460 (JKF)


              FIRST AMENDED PLAN OF REORGANIZATION
   PROPOSED BY FRANCES EMMONS ROGERS AS A DEBTOR-IN-POSSESSION




Dated: May 8, 2019
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       Frances Emmons Rogers, Debtor-in-Possession, (the “Debtor”) hereby proposes the

following First Amended Plan of Reorganization (the "Plan") under Chapter 11 of the United

States Bankruptcy Code, 11 U.S.C. Section 101, et seq.

                                            ARTICLE I

                                            Definitions

       For the purposes of this Plan, the following terms shall have the respective meanings

hereinafter set forth, such meanings to be equally applicable to the singular and plural forms of

the terms defined except as the context otherwise requires. Any term defined in the Bankruptcy

Code and not otherwise defined herein shall have the meaning specified in the Bankruptcy Code

unless the context otherwise requires.

               1.1      "ADMINISTRATIVE CLAIM" means a Claim incurred by the Debtor

on or after the Petition Date and before the Effective Date for a cost or expense of administration

of the Chapter 11 case allowable under Section 503(b) of the Bankruptcy Code and entitled to

priority under Section 507(a)(1) of the Bankruptcy Code.

               1.2      "ADMINISTRATIVE            CLAIMANT"         means     the   holder   of   an

Administrative Claim.

               1.3      "ALLOWANCE DATE" means the date a Claim becomes an Allowed

Claim, respectively.

               1.4      "ALLOWED" The use of the term "Allowed" with reference to a Claim

(e.g., "Allowed Unsecured Claim") shall mean one which (a) is listed in the bankruptcy

schedules or list of equity security holders (including any amendments thereto) filed in this case

as of the confirmation date and (i) not listed therein as disputed, contingent or unliquidated or (ii)

not objected to by the Debtor; (b) is set forth in a Proof of Claim properly filed in this case on or



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before the date fixed by the Bankruptcy Court (or by applicable rule or statutes as the last day for

filing such proof), and as to which no objection is filed; or (c) is determined to be allowed in a

Final Order.

               1.5     "ALLOWED CLAIM" means (a) a Claim that has been allowed by a

Final Order; (b) a Claim which is specified herein to be an Allowed Claim; or (c) a Claim timely

filed with the Office of the Clerk of the Court or scheduled by the Debtor in her Schedules as

neither unliquidated, disputed or contingent and as to which Claim (i) no objection with respect

to the allowance thereof has been or shall be interposed within the period of time fixed by the

Bankruptcy Code, the Bankruptcy Rules or orders of the Court, or (ii) as to which Claim either

an objection to the Claim or an application to amend the Schedules with respect to a scheduled

Claim has been interposed, which objection or application has been resolved by a Final Order to

the extent such objection or application is determined in favor of the holder of such Claim.

Unless otherwise specified, "Allowed Claim" shall not include interest on the principal amount

of such Claim accruing from or after the Petition Date.

               1.6     "ASSETS"       means all of the Debtor’s property, real and personal,

tangible and intangible, including without limitation accounts receivable, goods, chattel paper,

documents, instruments, money, fixtures, contract rights, causes of action, claims and rights of

any kind, wherever situated, together with the proceeds thereof.

               1.7     "BANKRUPTCY CODE" means Title 11 of the United States Code, as

amended from time to time, applicable to this case as of the Petition Date.

               1.8     “BANKRUPTCY COURT" or "COURT" means the United States

Bankruptcy Court for the Eastern District of Pennsylvania.




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               1.9    "BANKRUPTCY RULES"                 means the Federal Rules of Bankruptcy

Procedure, as amended from time to time promulgated by the Supreme Court of the United

States.

               1.10    "BAR DATE" means the last date fixed by Order of the Court for the

filing of proofs of claim.

               1.11    "BUSINESS DAY" means any day except a Saturday, Sunday, or other

day on which commercial banks located in Pennsylvania, are authorized by law to close.

               1.12    "CASE" means the reorganization case of the Debtor under Chapter 11

of the Bankruptcy Code presently captioned "In re Frances Emmons Rogers (Bankr. No. 18-

15460-JKF)”.

               1.13    "CAUSES OF ACTION" means all claims and causes of action now

owned or hereafter acquired by the Debtor, whether arising under the Code or other federal or

state law, including, without limitation, any causes of action arising under Sections 544, 547,

548, 550, 551, 553 or other sections of the Code.

               1.14    "CLAIM" means a claim against the Debtor within the meaning of

Section 101(5) of the Bankruptcy Code and is intended to include, without limitation, any claim,

suit, demand, note, liability, setoff, recoupment or charge, and any claim for reimbursement,

contribution, indemnity or exoneration.

               1.15    "CLAIMANT" A person or entity holding a Claim (including, his, her or

its successors, assigns, heirs, executors, or personal representatives).

               1.16    "CLASS" means a group of Claims, consisting of Claims which are

substantially similar to each other, as classified pursuant to this Plan.




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               1.17   "CONFIRMATION DATE" means the date on which the Confirmation

Order confirming the Plan at or after a hearing convened pursuant to Section 1129 of the

Bankruptcy Code becomes a Final Order.

               1.18   "CONFIRMATION HEARING" means the hearing at which the Court

considers confirmation of this Plan.

               1.19   "CONFIRMATION ORDER"                   means the Order of the Court

confirming the Plan pursuant to Section 1129 of the Bankruptcy Code.

               1.20   "CONTESTED CLAIM” or “DISPUTED CLAIM” means any Claim

as to which the Debtor or any other party in interest has interposed an objection, in accordance

with the Bankruptcy Code and Bankruptcy Rules, which objection has not been determined by a

final order or a claim which is scheduled as contingent or disputed.

               1.21   "CREDITOR" means the holder of a Claim against the Debtor.

               1.22   "DEBTOR" means Frances Emmons Rogers.

               1.23   "DEFICIENCY CLAIM" means, with reference to a Creditor having an

Allowed Secured Claim, that portion of the Creditor's Allowed Claim that is not an Allowed

Secured Claim only because (a) the monetary benefit derived from the exercise of any available

right of setoff and the application to the Claim of the net proceeds available from disposition of

Assets securing the Creditor's Allowed Claim is insufficient to permit payment in full of the

Allowed Claim, or (b) a Final Order entered in a proceeding to determine the extent of the

Secured Claim provides that part of the Creditor's Allowed Claim is not an Allowed Secured

Claim based on a valuation of the Creditor's interest in the Debtor’s interest in the Assets

securing the Claim.




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               1.24    "DISBURSING AGENT"              has the meaning given to such term in

Section 5.4 hereof.

               1.25    "DISPUTED        CLAIM" means any Claim which is scheduled as disputed,

contingent or unliquidated, or which is objected to in whole or in part before the Effective Date.

               1.26    "DISTRIBUTION" means any payment by the Debtor to a Creditor or

Disbursing Agent on account of a Claim.

               1.27    "EFFECTIVE DATE" means sixty days after the date upon which the

Confirmation Order becomes a Final Order.            However, at the option of the Debtor, a

Confirmation Order subject to a pending appeal or certiorari proceeding may be considered a

Final Order provided no order has been entered by any court of competent jurisdiction staying

the effect of the Confirmation Order.

               1.28    "FEE CLAIM"            means a claim under section 330 or 503 of the

Bankruptcy Code for allowance of compensation and reimbursement of expenses in this Chapter

11 case.

               1.29    "FINAL ORDER" means (a) a judgment, order or other decree issued

and entered by the Court, which judgment, order or other decree (i) has not been reversed or

stayed and as to which the time to appeal has expired and as to which no appeal or petition for

review, rehearing or certiorari is pending or (ii) with respect to which any appeal has been finally

decided and no further appeal or petition for certiorari can be taken or granted; and (b) a

stipulation or other agreement entered into which has the effect of any such judgment, order or

other decree described in clause (a) above.

               1.30    "IMPAIRED CLASS" means any Class of Claims which is impaired

within the meaning of Section 1124 of the Bankruptcy Code.



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               1.31    "INSIDER"        means any "insider" as that term is defined in the

Bankruptcy Code.

               1.32    "LIEN" means, with respect to any of the Assets of the Debtor, any

mortgage, lien, pledge, charge, security interest, or other security device (including a lease which

is not a true lease) or encumbrance of any kind affecting such Asset.

               1.33    "PERSON" means a person within the meaning of Section 101(41) of

the Bankruptcy Code.

               1.34    "PETITION DATE" means August 17, 2018, the date upon which the

Voluntary Petition was filed by the Debtor.

               1.35    "PETITION" means the Petition for Relief, filed by the Debtor with the

Court pursuant to Chapter 11 of the Bankruptcy Code commencing this proceeding.

               1.36    "PLAN"      means this Plan of Reorganization, as it may be further

amended, modified or supplemented from time to time, and any exhibits and schedules thereto.

               1.37    "PLAN PROPONENT" means the Debtor.

               1.38    "PRIORITY NON-TAX CLAIM" shall mean a Claim or a portion of a

Claim for which priority is asserted under Section 507(a)(3), (4), (5), (6) or (7) of the Bankruptcy

Code.

               1.39    "PRIORITY TAX CLAIM" shall mean a Claim or a portion of a Claim

for which priority is asserted under Section 507(a)(8) of the Bankruptcy Code.

               1.40    "PRO RATA" means with respect to any distribution to the holder of an

Allowed Claim of a particular Class of the Plan on a particular date, the same proportion that the

amount of such Allowed Claim bears to the aggregate amount of all Claims of such Class,

including Contested Claims.



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               1.41     "PROPONENT" means the Debtor.

               1.42     "REJECTION CLAIM" means any claim for amounts due as a result of

the rejection of any executory contract or lease which is rejected by the Debtor by Final Order.

               1.43     "REORGANIZED DEBTOR" means Frances Emmons Rogers, as

reorganized and existing on the Effective Date.

               1.44     “SCHEDULES" means the schedules of assets and liabilities heretofore

filed by the Debtor with the Office of the Clerk of the Court pursuant to Bankruptcy Rule 1007,

as they may be amended from time to time.

               1.45     "SECURED CLAIM" shall mean a Claim that is (a) secured by a valid,

perfected and enforceable Lien on Assets of the Debtor, to the extent of the value of the interest

of the holder of such Secured Claim in such Assets; or (b) a claim which is specified herein as an

Allowed Secured Claim, to the extent of the value of the interest of the holder of such secured

claim in such assets.

               1.46     “TAX CLAIM” means any Claim of the kind specified in Sections

502(i) and 507(a)(8), but only to the extent such Claim is entitled to such priority.

               1.47     "UNIMPAIRED CLASS" means any Class of Claims which is not

impaired within the meaning of Section 1124 of the Bankruptcy Code.

               1.48     "UNSECURED CLAIM" means any Claim, whether or not disputed,

liquidated or contingent, including a Rejection claim or a Deficiency Claim arising out of any

default of the Debtor under a contract entered into by the Debtor prior to the Petition Date, other

than an Administrative Claim, Priority Non-Tax Claim, Priority Tax Claim or Secured Claim.




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                                              ARTICLE II

                                       Classification of Claims

                For the purpose of this Plan, Claims are divided into the following classes. A

Proof of Claim asserting a claim which is properly included in more than one class is included in

each such class to the extent that it qualifies within the description of such class.

                2.1     Class 1.         Secured Claim of Wells Fargo Bank, N.A..          Class 1

consists of the claim of Wells Fargo Bank, N.A., secured by a first mortgage on the Debtor’s

residence located at 701 Panmure Road, Haverford, PA 19041 (the “Residence”). Class 1 is

impaired.

                2.2     Class 2.         Unsecured Claim.         Class 2 is impaired.   Except as

otherwise provided herein, the treatment and consideration to be received by Class 2 shall be in

full settlement, satisfaction, release and discharge of its respective claims and liens against the

Debtor.

                2.3      Claims Classified. For purposes of voting and all confirmation matters,

except as otherwise classified herein, all Claims (except for Administrative Claims), are

classified as set forth in this Article II of the Plan.

                2.4     Administrative Claims.            As provided in section 1123(a)(1) of the

Bankruptcy Code, Administrative Claims shall not be classified for purposes of voting or

receiving distributions under the Plan. Rather, all such claims shall be treated separately as

unclassified Claims pursuant to the terms set forth in Article IV of this Plan.




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                                           ARTICLE III

                                  Treatment of Classes of Claim

       The treatment set forth in Article III shall be in full and final satisfaction and discharge of

all claims of any creditor in any Class.

               3.1.    Class 1.        Secured Claim of Wells Fargo Bank, N.A..              Class 1

consists of the claim of Wells Fargo secured by a first mortgage on the Debtor’s Residence.

Class 1 is impaired. The total claim in Class 1 is $2,190,679.03. The Debtor owes $797,351.16

in arrears on the Mortgage. This amount includes both pre-petition arrears and post-petition

arrears. The Residence has an estimated fair market value of $1,750,000.00. The Debtor

proposes quarterly payments in the amount of $50,000.00 over five (5) years to cure the arrears.

The Debtor will continue to make monthly payments in the amount of $9,811.97. The Debtor

reserves the right to dispute the amounts alleged to be due and owing as the numbers set forth

above are taken from the Proof of Claim filed by Wells Fargo.

               3.2     Class 2.        Unsecured Claim.        Class 2 is impaired.       Except as

otherwise provided herein, the treatment and consideration to be received by Class 2 shall be in

full settlement, satisfaction, release and discharge of its respective claims and liens against the

Debtor. The Debtor intends to pay all Allowed Unsecured Claims in full in monthly payments

over the next twenty-four (24) months. Based upon Debtor’s income and projected expenses, this

amount equals what is required by the Code.

                                           ARTICLE IV

                        TREATMENT OF UNCLASSIFIED CLAIMS

               4.1     Administrative Claims. All Administrative Claims shall be treated as

follows:



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                       a.     Time for Filing Administrative Claims.           The holder of an

Administrative Claim, other than (i) a Fee Claim or (ii) a liability incurred and paid in the

ordinary course of business by the Debtor, must file with the Bankruptcy Court and serve on the

Debtor and her counsel, notice of such Administrative Claim within (30) days after the

Confirmation Date. Such notice must include at minimum (i) the name of the holder of the

claim, (ii) the amount of the claim and (iii) the basis of the claim. Failure to file this notice

timely and properly shall result in the Administrative Claim being forever barred and discharged.

                       b.     Time for Filing Fee Claims. Each professional person who holds

or asserts an Administrative Claim that is a Fee Claim incurred before the Effective Date shall be

required to file with the Bankruptcy Court a fee application within sixty (60) days after the

Effective Date. Failure to file the fee application timely shall result in the fee claim being

forever barred and discharged.

                       c.     Allowance of Administrative Claims. An Administrative Claim

with respect to which notice has been properly filed pursuant to Section 4.1(a) of this Plan shall

become an Allowed Administrative Claim if no objection is filed within thirty (30) days of the

filing and service of notice of such Administrative Claim. If an objection is filed within such

(30) day period, the Administrative Claim shall become an Allowed Administrative Claim only

to the extent allowed by Final Order. An Administrative Claim that is a Fee Claim, and with

respect to its fee application has been properly filed pursuant to Section 4.1(b) of the Plan, shall

become an Allowed Administrative Claim only to the extent allowed by Final Order.

                       d.     Payment of Allowed Administrative Claim. Each holder of an

Allowed Administrative Claim shall receive (i) the amount of such holder's Allowed Claim upon

the Effective Date, (ii) such other treatment as may be agreed upon in writing by the Debtor and



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such holder as long as no payment is made thereon prior to the Effective Date, or (iii) as may be

otherwise ordered by the Court, provided that an Administrative Claim representing a liability

incurred in the ordinary course of business by the Debtor may be paid in the ordinary course of

business.

                        e.      Professional Fees Incurred After the Effective Date.         Any

professional fees incurred by the Debtor after the Effective Date without deduction must be

approved by the Debtor and, thereafter, paid. Any dispute which may arise with regard to

professional fees after the Effective Date shall be submitted to the Bankruptcy Court, which shall

retain jurisdiction to settle these types of disputes.

                4.2     Tax Claims. Each holder of an Allowed Priority Tax Claim shall receive,

at the sole option of the Debtor (i) the amount of such holder's Allowed Claim on the Effective

Date; (ii) the amount of such holder's Allowed Claim, plus interest accrued at the applicable

statutory rate, in equal monthly cash payments in accordance with the provisions of Subsection

1129(a)(9)(c) of the Bankruptcy Code commencing on the Effective Date or (iii) such other

treatment as may be agreed upon in writing by the Debtor and such Creditor. To the extent that

an Allowed Tax Claim is secured against Property of the Debtor, the secured lien shall remain

intact until the Allowed Tax Claim is paid in full.

                                             ARTICLE V

                               Provisions for Execution of the Plan

                5.1     Plan Funding. The Debtor will fund the Plan through her income from

her employment as a nurse. The Debtor’s income will be used to for day-to-day spending and

expenses. In addition to the Debtor’s income as a nurse, the Debtor’s husband will be providing

income to make payments pursuant to the Plan. The Debtor’s husband, Paul Rogers, works for



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Jackson Cross and his income is based primarily on commissions of commercial leases. Mr.

Rogers projects to have total income in excess of $350,000.00 (gross) over the next year and for

each year during the Plan. The Debtor has regular expenses that total roughly $12,000.00 per

month, including monthly mortgage payments, for a total of $144,000.00 per year. The Debtor

and her husband’s income is sufficient to make all quarterly arrearage payments to Wells Fargo

Bank and the otherwise necessary plan payments.

               5.2      Prior to the Effective Date, the Debtor is authorized and directed to

execute and deliver all documents and to take and to cause to be taken all action necessary or

appropriate to execute and implement the provisions of this Plan.

               5.3      This Plan may be altered, amended, or modified by the Proponent before

or after the Confirmation Date, as provided in Section 1127 of the Code.

               5.4      Disbursing Agent. Frances Rogers shall be the Disbursing Agent herein

("Disbursing Agent").

               The Debtor plans to file a Motion to close the case and request that a final decree

be issued after initial payments are made under the Plan.

                                         ARTICLE VI

                        Additional Provisions Applicable To All Classes

               6.1      The payments, distributions and other treatments provided in respect of

each Allowed Claim in the Plan shall be in full settlement and complete satisfaction discharge

and release of such Allowed Claim.

               6.2      Notwithstanding any of the provisions of the Plan specifying a date or

time for the payment or distribution of consideration hereunder, payments and distributions in

respect of any Claim or Interest which at such date or time are disputed, unliquidated or



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contingent shall not be made on the disputed portion until such Claim becomes an Allowed

Claim, whereupon such payment and distribution shall be made promptly pursuant to and in

accordance with this Plan.

                                         ARTICLE VII

                 Provisions Governing Distributions and General Provisions

               7.1    Distributions pursuant to this Plan in Class 2 shall be made by the

Disbursing Agent as provided herein and shall be made, unless otherwise provided herein, on the

Effective Date, or as may be otherwise ordered by the Court.

                      a.      Delivery of Distributions. Distributions and deliveries to holders

of Allowed Claims will be made at the addresses set forth on the proofs of claim filed by the

holders (or at the last known address). If any holder's distribution is returned as undeliverable,

no further distributions to the holder will be made unless and until the Debtor is notified of the

holder's then current address, at which time all missed distribution will be made to the holder

without interest. All claims for undeliverable distributions must be made to the Disbursing

Agent within one hundred twenty (120) days after the respective distribution was made. After

that date, all unclaimed property will revest with the Disbursing Agent for redistribution pro-rata

to the remaining creditors in the appropriate class, and the Claim of any holder with respect to

such distribution will be discharged and forever barred.

                      b.      Means of Cash Payment. Cash payments made pursuant to the

Plan will be in United States funds, by check drawn on a domestic bank or by wire transfer from

a domestic bank. All cash distributions will be made by the Disbursing Agent.

                      c.      Time Bar to Cash Payments. Checks issued by the Disbursing

Agent in respect of Allowed Claims will be null and void if not cashed within 90 days of the date



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of their issuance. Requests for reissuance of any check shall be made to the Disbursing Agent by

the holder of the Allowed Claim with respect to which the check originally was issued. Any

claim in respect of such a voided check must be made on or before ninety (90) days after the date

of issuance of the check. After the date, all claims in respect of void checks will be discharged

and forever barred and the cash, including interest earned shall be the property of the

Reorganized Debtor.

                       d.     Setoffs. The Debtor may, but will not be required to, set off

against any Claim and the payments to be made pursuant to the Plan in respect of the Claim, any

claims of any nature whatsoever the Debtor may have against the claimant, but neither the failure

to do so nor the allowance of any Claim hereunder will constitute a waiver of release by the

Debtor of any such claim the Debtor may have against such claimant.

                       e.     De Minimis Distributions. No cash payment of less than twenty-

five dollars ($25.00) will be made by the Disbursing Agent to any creditor unless a request is

made in writing to Debtor to make such a payment.

                       f.     Saturday, Sunday or Legal Holiday. If any payment or act under

the Plan is required to be made or performed on a date that is not a Business Day, then the

making of such payment or the performance of such act may be completed on the next

succeeding Business Day, but will be deemed to have been completed as of the required date.

               7.2     Any notice described in or required by the terms of this Plan or the Code

and Rules shall be deemed to have been properly given when actually received, or if mailed, five

(5) days after the date of mailing as such may have been sent by certified mail, return receipt

requested, and if sent to:




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                      (a)    If to the Reorganized Debtor, addressed to:

                             Frances Emmons Rogers
                             701 Panmure Road,
                             Haverford, PA 19041

                      (b)    With copies to Counsel:

                             Albert A. Ciardi, III, Esquire
                             Daniel S. Siedman, Esquire
                             Ciardi Ciardi & Astin
                             One Commerce Square, Suite 3500
                             Philadelphia, PA 19103

              7.3     No default shall be declared under this Plan unless any payment due under

this Plan shall not have been made within 30 days after written notice to the Reorganized Debtor

and counsel for the Debtor for failure to make payment when due under the Plan.



                                        ARTICLE VIII

                                    Effect of Confirmation

              8.1     Injunction. Except as otherwise expressly provided in this Plan or to

enforce its provisions, the Confirmation of the Plan shall act to permanently enjoin on or after

and as long as the Debtor comply with the Plan on the Effective Date, all Persons who have held,

hold or may hold Claims of or against the Debtor and the Reorganized Debtor (a) from

commencing or continuing in any manner any action or other proceeding of any kind with

respect to any such Claim against the Debtor, (b) from the enforcement, attachment, collection or

recovery by any manner or means of any judgment, award, decree, or order against the

Reorganized Debtor or the Property of the Reorganized Debtor with respect to any such Claim,

(c) from creating, perfecting or enforcing any encumbrance of any kind against the Reorganized

Debtor thereof, or against the property of the Reorganized Debtor with respect to any such Claim



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or, (d) from asserting any setoff, right of subrogation, or recoupment of any kind against any

obligation due from the Reorganized Debtor thereof, or against the property of the Reorganized

Debtor, with respect to any such Claim.

               8.2     Term of Injunctions or Stays. Unless otherwise provided in this Plan, all

injunctions or stays provided for in this Chapter 11 Case pursuant to Sections 105 or 362 of the

Code or otherwise and extant on the Confirmation Date shall remain in full force and effect, until

such time as the Bankruptcy Court orders otherwise.           Upon the occurrence of a default

hereunder, creditors shall have the right to seek relief from the stays and/or termination of the

injunctions provided for herein.

               8.3     Injunction Against Interference With Plan.             Except as otherwise

permitted under the Plan, no entity may commence or continue any action or proceeding, or

perform any act to interfere with the implementation and consummation of this Plan and the

payments to be made hereunder.



                                          ARTICLE IX

                                       Executory Contracts

               9.1     Rejection.    All executory contracts and unexpired leases that are not

assumed as of the Confirmation Hearing or rejected during this case shall be deemed rejected

pursuant to Section 365 of the Bankruptcy Code as of the Confirmation Hearing.

               9.2     Damages. Any Claim for damages arising by reason of the rejection of

any executory contract or unexpired lease will constitute a Rejection Claim, if, but only if, a

proof of claim therefore shall be filed with the Clerk of the Court within thirty days after the date




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of rejection. If a Rejection Claim becomes an Allowed claim then it shall constitute a general

unsecured claim under Class 2 as appropriate.

                                           ARTICLE X

                      Cramdown Provisions and Confirmation Request

              10.1    In the event that sufficient votes to confirm said Plan are not received, the

Debtor requests confirmation of the Plan pursuant to the provision of Section 1129(b) of the

Bankruptcy Code.

                                           ARTICLE XI

                                      Modification of the Plan

              11.1    Pre-Confirmation Modification. At any time before the Confirmation

Date, the Plan may be modified by the Proponent upon approval of the Bankruptcy Court,

provided that the Plan, as modified, does not fail to meet the requirements of Section 1122 and

1123 of the Bankruptcy Code. In the event that there is a modification of the Plan, then the Plan

as modified, shall become the Plan.

              11.2    Pre-consummation Modification. At any time after the Confirmation

Date of the Plan, but before substantial consummation of the Plan, the Plan may be modified by

the Proponent upon approval of the Bankruptcy Court, provided that the Plan, as modified, does

not fail to meet the requirements of Section 1122 and 1123 of the Bankruptcy Code. The Plan,

as modified under this section, becomes a Plan only if the Court, after notice and hearing,

confirms such Plan, as modified, under Section 1129 of the Bankruptcy Code.

              11.3    Non-Material Modifications. At any time, the Proponent may, without

the approval of the Court, so long as it does not materially or adversely effect the interest of

Creditors, remedy any defect or omission, or reconcile any such inconsistencies in the Plan or in



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the Confirmation Order, as such matters may be necessary to carry out the purposes, intent and

effect of this Plan.

                                          ARTICLE XII

                                    Retention of Jurisdiction

                12.1   The Court shall retain jurisdiction of the case after the Confirmation Date

for the following purposes:

                       (a)     to determine any and all objections in the allowance of claims and

amendments to schedules;

                       (b)     to classify the Claim of any Creditor and to re-examine Claims

which have been allowed for purposes of voting, to determine such objections as may be filed to

Claims;

                       (c)     to determine any and all disputes arising under or in connection

with the Plan, the sale of any of the Debtor’s assets, collection or recovery of any assets;

                       (d)     to determine any and all applications for allowance of

compensation and reimbursement of expenses herein;

                       (e)     to determine any and all pending applications for rejections of

executory contracts and unexpired leases and the allowance of any claims resulting from the

rejection thereof or from the rejection of executory contracts or unexpired leases pursuant to the

Plan;

                       (f)     to determine any and all applications, adversary proceedings and

contested and litigated matters pending in the case as of, or after, the Confirmation Date;

                       (g)     to determine any and all proceedings for recovery of payments

pursuant to any Cause of Action;



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                        (h)    to modify any provision of the Plan to the full extent permitted by

the Bankruptcy Code;

                        (i)    to correct any defect, cure any omission or reconcile any

inconsistency in the Plan or the Confirmation Order as may be necessary to carry out the

purposes, intent and effect of the Plan;

                        (j)    to determine such other matters which may be provided for in the

Confirmation Order as may be authorized under the provisions of the Bankruptcy Code;

                        (k)    to enforce all discharge provisions under the Plan; and

                       (l)     to enter any order, including injunctions, necessary to enforce the

terms of the Plan, the powers of the Debtor under the Bankruptcy Code, this Plan and as the

Court may deem necessary.

                                           ARTICLE XIII

                                           Causes of Action

                13.1    Suits, Etc. Except as otherwise provided in this Plan, the Debtor reserves

the right to initiate or continue any litigation or adversary proceeding permitted under Title 11 of

the United States Code and applicable Federal Rules of bankruptcy procedure with respect to any

Cause of Action.

                13.2    Powers.   The Debtor shall have the right to settle, compromise, sell,

assign, terminate, release, discontinue or abandon any Cause of Action from time to time in her

discretion. To the extent any Cause of Action results in a claim against the Debtor, such claims

shall be treated in Class 2.




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                                         ARTICLE XIV

                                             Miscellaneous

               14.1    Choice of Law. Except to the extent superseded by the Bankruptcy Code

or other federal law, the rights, duties and obligations arising under the Plan shall be governed by

and construed and enforced in accordance with the laws of the State of Pennsylvania, without

regard to the choice of law rules thereof.

               14.2    Payment of Statutory Fees. All fees payable pursuant to section 1930 of

Title 28 of the United States Code, as determined by the Court at the hearing pursuant to section

1128 of the Bankruptcy Code, will be paid on or before the Effective Date. With specific regard

to those fees attributable to the Office of the United States Trustee, Quarterly fees pursuant to 28

U.S.C. § 1930(a)(6) continue to be payable to the Office of the United States Trustee post-

confirmation until such time as the case is converted, dismissed or closed pursuant to a final

decree.

               14.3    Discharge of Debtor. Except as otherwise provided in this Plan or in any

Judgment of this Court on a dischargeability complaint, the rights afforded in the Plan and the

treatment of all Claims in the Plan shall be in exchange for and in complete satisfaction,

discharge, and release of Claims of any nature whatsoever, including any interest accrued on

such Claims from and after the Petition Date, against the Debtor, any of her assets or properties

and the Debtor’s Estate to the full extent permitted by the Bankruptcy Code.              Except as

otherwise provided in this Plan or in any other order or judgment of this Court (i) on the Motion

of the Debtor pursuant to Section 1141(d)(5), all Claims against the Debtor will be satisfied,

discharged and released in full and (ii) all Persons shall be precluded from asserting against

Debtor, successors, or her assets or properties any other or further Claims based upon any act or



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omission, transaction, or other activity of any kind or nature that occurred before the

Confirmation Date as is solely permitted by the Bankruptcy Code.

               14.4   Discharge of Claims; Injunction. Except as otherwise provided in this

Plan or in any other order or judgment of this Court, the rights afforded in this Plan and the

payments and distributions to be made under the Plan shall be in complete exchange for, and in

full satisfaction, discharge and release of, all existing debts and Claims of any kind, nature or

description whatsoever against the Debtor, the estate or any of her assets, all existing Claims

against the Debtor, the estate and all of her assets and properties will be, and be deemed to be,

exchanged, satisfied, discharged and released in full; and all holders of claims shall be precluded

and enjoined from asserting against the Debtor, the Reorganized Debtor, the Disbursing Agent,

her successor or her respective Assets or properties any other or further Claim based upon any

act or omission, transaction or other activity of any kind or nature that occurred prior to

Confirmation of the Plan, whether or not the holder filed a proof of claim.

               14.5   Effect of Confirmation Order. Except as provided in Section 1141(d) of

the Bankruptcy Code and except as otherwise provided in this Plan, the provisions of the Plan

and the Confirmation Order shall bind the Reorganized Debtor and all holders of claims and will

be a judicial determination of discharge of the Debtor from all debts that arose before the

Confirmation Date and any liability on a Claim that is determined under Section 502 of the

Bankruptcy Code as if such Claim had arisen before the Confirmation Date, whether or not a

proof of claim based on any such date or liability is filed under Section 501 of the Bankruptcy

Code and whether or not a Claim based on such debt or liability is allowed under Section 502 of

the Bankruptcy Code and whether or not such holder is impaired under the Plan and whether or




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not such holder has accepted the Plan, and shall terminate all rights, claims and interests of such

holder, except as provided in the Plan.

               14.6    Severability. Should any provision in this Plan be determined to be

unenforceable, that determination will in no way limit or affect the enforceability and operative

effect of any provision of the Plan.

               14.7    Successors and Assigns. The rights and obligations of any person named

or referred to in the Plan shall be binding upon, and shall inure to the benefit of, the successors

and assigns of that Person.

               14.8    Binding Effect. The Plan will be binding upon and inure to the benefit of

the Debtor and her Creditors.

               14.9    Withholding and Reporting Requirements. In connection with the Plan

and all instruments issued and distributions made pursuant to the Plan, the Debtor will comply

with all withholding and reporting requirements imposed by any federal, state, local or foreign

taxing authority and all distributions made pursuant to the Plan will be subject to any such

withholding and reporting requirements.

                                          ARTICLE XV

                         Provisions for Resolving and Treating Claims

               15.1    Objections.     Within sixty (60) days after the Confirmation Date, all

objections to Claims, unless an objection has already been filed, will be filed with the Court and

served on the holders of each of the Claims to which objections are made. If no objection to a

claim is filed within sixty (60) days after the Confirmation Date, the claim will be deemed

allowed.




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               15.2   Prosecution of Objections. After the date of entry of the Confirmation

Order, only the Disbursing Agent will have authority to file objections, litigate to judgment,

settle or withdraw objections to Contested Claims. Any objections to claims which have been

filed by the Debtor which are pending on the Effective Date shall be transferred to the

Disbursing Agent.

               15.3   No Distributions Pending Allowance. No payments or distributions will

be made with respect to any Contested Claim except to the extent that the Contested Claim

becomes an Allowed Claim. If only a portion of a claim is disputed (and in the absence of a

basis for set off or counterclaim), the distribution will be made on a pro rata basis on the

uncontested portion of the claim, pending resolution of the portion which is disputed.



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              15.4    Distributions after Allowance. Payments and distribution to each holder

of a Contested Claim, to the extent that the Contested Claim becomes an Allowed Claim, will be

made in accordance with the provisions of the Plan governing the Class of Claims to which the

respective holder belongs as soon as practicable after the date that the order or judgment of the

Court allowing the Claim becomes a Final Order.




                                                    FRANCES EMMONS ROGERS

                                            By:     /s/ Frances Emmons Rogers
                                                    Debtor



                                                    CIARDI CIARDI & ASTIN

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Dated: May 8, 2019                                  Attorneys for Debtor




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